                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

              My'Ka El,               )              JUDGMENT IN CASE
                                      )
             Plaintiff(s),            )             3:20-cv-00016-RJC-DSC
                                      )
                  vs.                 )
                                      )
        State of North Carolina       )
               B. Harris
         Mecklenburg County,
             Defendant(s).            )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s March 26, 2021 Order.

                                               March 26, 2021




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